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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MINNESOTA

In re:

Elizabeth Alice Boeddeker,                                                     Case No.: 18-60069
                                                                               Chapter 7

                       Debtor.

          APPLICATION FOR APPROVAL OF EMPLOYMENT OF ATTORNEY

         1.    Applicant Erik A. Ahlgren has been appointed Trustee in this case.

         2.    Applicant believes that the employment of an attorney is necessary to represent or
               assist Trustee in carrying out the trustee’s duties by bringing an action to foreclose on
               real estate and other actions to recover assets of the estate.

         3.    Robert L. Russell, and Russell Law Office., 220 W. Washington Ave, Ste 103,
               Fergus Falls, MN 56537 are qualified by reason of practice and experience to render
               such representation or assistance to the Trustee.

         4.    Proposed compensation and reimbursement of expenses is as follows: $300 per hour
               plus all out of pocket expenses.

         5.    Said professional has disclosed to the undersigned that he has the following
               connections with the Debtor(s), creditors, any other party-in-interest, their respective
               attorneys and accountants, the United States Trustee or any person employed in the
               Office of the United States Trustee: None

         6.    The trustee has made the following efforts to recover the asset prior to submitting this
               Application: Made demand to ex-spouse for payment of marital lien

         WHEREFORE, applicant prays that the Court approve such employment by the Trustee.


Dated: May 28, 2019                            Signed: /e/ Erik A. Ahlgren
                                                      Erik A. Ahlgren, Trustee
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                                         ORDER

         The trustee’s application to employ Robert L. Russell, of Russell Law Office as his
 attorneys came before the Court. Based on the application, the recommendation of the
 United States Trustee, and 11 United States Code §327,

    IT IS ORDERED: The employment is approved.


    DATED:
                                       ________________________________________
                                         UNITED STATES BANKRUPTCY JUDGE
